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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR116
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )              TENTATIVE FINDINGS
                                               )
TERRANCE HOWARD,                               )
                                               )
               Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the

sentencing guidelines are advisory.

       The Court notes that, according to the Information, the Defendant’s first name is

spelled “Terrance.” The PSR shall be amended accordingly prior to being sent to the

Bureau of Prisons.

       IT IS ORDERED:

       1.      The PSR shall be amended to reflect the spelling of the Defendant’s first

name as “Terrance”;

       2.      Otherwise, the parties are notified that my tentative findings are that the PSR

is correct in all respects;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the
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submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

      4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 19th day of March, 2007.

                                         BY THE COURT:

                                         s/Laurie Smith Camp
                                         United States District Judge




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